      Case: 1:19-cv-00045-TSB Doc #: 9 Filed: 05/21/19 Page: 1 of 2 PAGEID #: 57



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


XIAFEN “SHERRY” CHEN                                    Case No. 1:19-cv-00045
                      Plaintiff,
Vs.                                                     District Judge Timothy S. Black


UNITED STATES OF AMERICA
                      Defendant.                        Plaintiffs Unopposed Motion for a
                                                        Three- Week Extension of Time to
                                                        Answer, Move, or Otherwise Plead in
                                                        Response to Defendant’s Motion To
                                                        Dismiss




   Plaintiff Xiafen Chen, moves this Honorable Court to extend the time to answer, move or
otherwise plead in response to Defendant's Motion to Dismiss. In support, Plaintiff states as
follows:

  1. Pursuant to 7.3(a), Counsel for Plaintiff Xiafen Chen, solicited, conferred and received
     consent to the requested extension of time until June 7, 2019, 21 days from the original
     due date.
  2. Opposing counsel, Matthew J. Horwitz and Kevin Koller concur with the request for the
     requested extension of time to June 7, 2019 and have no objections.
  3. No prejudice will result to any party as a result of such time extension.
  4. This is the first request for an extension by the Plaintiff.
  5. This request is made solely in the interest of justice.


       The proposed motion is attached.


       Respectfully submitted,



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Case: 1:19-cv-00045-TSB Doc #: 9 Filed: 05/21/19 Page: 2 of 2 PAGEID #: 58



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